        Case 2:13-cr-00912 Document 22 Filed on 09/25/13 in TXSD Page 1 of 2




                          UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF TEXAS
                             CORPUS CHRISTI DIVISION

UNITED STATES OF AMERICA                      §
                                              §
VS.                                           § MAGISTRATE NO. 2:13-MJ-01145-3
                                              §
LORENZO JOEL SALDANA                          §

 MEMORANDUM OPINION AND ORDER OF DETENTION PENDING TRIAL

         A detention hearing has been held in accordance with the Bail Reform Act, 18

U.S.C. § 3142(f). The following requires detention of the defendant pending trial in this

case:

         (1)   There is a serious risk that the defendant will not appear; and

         (2)   There is a serious risk that the defendant will endanger the safety of another

person or the community.

         The evidence against the defendant meets the probable cause standard.           The

findings and conclusions contained in the Pretrial Services Report are adopted. The

defendant was on bond for aggravated robbery in 2007 when he violated bond conditions

and tested positive for illegal drug use.         Since that time, he was convicted of

misdemeanor possession of marihuana and assault causing bodily injury. The defendant

is addicted to synthetic marihuana. He is a poor bond candidate.

         The defendant is committed to the custody of the United States Marshal or his

designated representative for confinement in a corrections facility separate, to the extent

practicable, from persons awaiting or serving sentences or being held in custody pending

appeal. The defendant shall be afforded a reasonable opportunity for private consultation


1/2
      Case 2:13-cr-00912 Document 22 Filed on 09/25/13 in TXSD Page 2 of 2




with defense counsel. On order of a court of the United States or on request of an

attorney for the Government, the person in charge of the corrections facility shall deliver

the defendant to the United States Marshal for the purpose of an appearance in

connection with a court proceeding.

       ORDERED this 25th day of September, 2013.


                                             ___________________________________
                                             B. JANICE ELLINGTON
                                             UNITED STATES MAGISTRATE JUDGE




2/2
